          Case 2:14-cv-01542-KOB Document 10 Filed 10/20/14 Page 1 of 3                                       FILED
                                                                                                     2014 Oct-20 PM 04:51
                                                                                                     U.S. DISTRICT COURT
                                                                                                         N.D. OF ALABAMA



                         UNrren Sr¿,rBs DrsrRrcr Counr
                                          for the
                             NORTHI]RN DISTRICT OI.-,ALABAMA
                                   SOUTI{ERN DIVISION

Marlin Pelrusquia,

                          Plaintif(s)


                                                             Civil Action No. CV-14-BE-1542-5
El Poblano Mexican Restaurant, Inc.
and Fidel Castlo.

                          Defendant(s)



                        REPORT OF' PAIìTIN,S' PLANNING MEETING

1.      Appeara¡¡c¿s. Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 26.1(d), a meeting            of
the parties' representatives was conducted in person on October 17,2014:

       a.       Appearing on behalf olthe plaintifl Nathan Hauis, Binningham, Alabama.

       b.       Appearing on behalf of the defendaff: I-ewís W. Page, Esq. Page Law Firm,
                Birmingham, Aìabama

2.     Pre-Discovery Disclosures. 1-he parlies       will   exchange byOctober31,2014,the
information required by Fed. R. Civ. P. 26(a)(1).

3.     Synopsis of case:

Plaintiffls Position: The defendant failed to pay the plaintiffin accordance with the Fair
Labor Standards Act ("ËLSA"), specifically by improperly paying the plaintiff a salary
which was not designed to (and did not) conrpensate him at the minimum rate of pay
required by 29 U.S.C. $ 206. The plaintiff was also required to work more tltan fofty (40)
hours pel week but did not receive any overtinte paynìents in accordance with 29
U.S.C. $ 207. Further, the defendant's failure to pay the plaintiff in accordance with the
F-LSA was   willful   and without good faith. The   plaintiff incotporates by reference the
allegations made in his complairf   .




Defcndant's Position: Plaintiff was paid properly and in accordance with fhe F'air Labor
Standards Act. Individual defendant Þ'idel Castro is not personally liable for any FLSA
violation. Any violation was not willful or intentional.



                                                                                              Page   I of 3
          Case 2:14-cv-01542-KOB Document 10 Filed 10/20/14 Page 2 of 3



4.   Discovery I'lan. The parliesjointly propose to the Courl the following discovery plan:

     a.       I)iscovery will be needed on the following subj ects: The claims ofthe plaintiff
              and defendant's defenses; records ofeach parly; hours wolked, and money paid.

     b.       All discovery will   be commenced in time to be completed by May    3   l, 2015.

     c.       A maximum of twenty-five (25) interuogatories       aud twenly-five (25)
              requests for production by each party   to any other pafty. Responses will    be
              due thirly (30) days after service.

     d.       A naximum of twenty-five (25) requests for admissions may be served by
              each par1y. Responses will be due thifty (30) days after service.

     e.       A maxirnum offive (5) depositions may be taken by each party, including any
              experls.

     f.       Each deposition limited to maximum      of   seven (7) hours unless exteuded by
              agreement of parties.

     g.      Reporls fiom retained experls under Rule 26(a)(2) are due from the
             plaintiff on or before March 1,2015, and from the defendant on or before
             April 1,2015.

     h.      Supplementation under 26(e) will be due within thirty (30) days after
             counsel learns ofthe need to supplement.

     i.      Should a party wish to issue a subpoena to a non-party, the parties agrec that
             foufleen ( 14) days prior notice shall be given to the opposing party for an
             oppolunity to object to the subpoena pursuant to Fed. R. Civ. P. Rule 45.

5.   Otlrcr ltems.

     a.      The parties do not request a conference with the Court before ently of the
             scheduling order.

     b.      The paúies request a pretrial conference thirty (30) days before trial.

     c.      Amendment of the Pleadings and Addition of Parlies:

             (1)     December 31,2014, for the plaintiff to join additional parlies or amend
                     the Complaint.

             (2)     January 15, 2015, for the defendant to join additional parlies or amend
                     the Answer.



                                                                                         Page 2 of 3
            Case 2:14-cv-01542-KOB Document 10 Filed 10/20/14 Page 3 of 3



       d.       All   potentially dispositive motions should be filed by July 15,2015.

       e.       The pafties are currently engaged     in settlement discl,tssions at this pre-
                discovery stage. The parlies aglee that mediation at this time is not likely to be
                of signihcant benefi1 to the resolution of this matter, but the parties rnay wish
                to rnediate later.

       f.      Final lists of witnesses and exhibits under Rule 26(a)(3) will be due fi'om the
               plaintiff thirty (30) days before trial and from the defendant thirty (30) days
                before trial.

       g.       T'he parties will have fourteen (14) days after service of linal lists   of
                witnesses and exhibits to list objections uncler Rule 26(a)(3).

       h.      The case should be ready for trial in August 2015, and at this time the parlies
               estimale that the tlial will take approxirnately two (2) days.

Respectfully submitted this 2Oth day of October,2014.



Date: October 20, 2014

                                               /s/ li. Nathan I'Iarris
                                               E. Nathan llarris, LLC
                                               Balber Harris
                                               1560 Montgomery Highway, Suite 207
                                               Birmingham, A1"35216
                                               nhaglS@buqt¡ChamatþIneJ-çA!1
                                               205-940-2233


Date: October 20, 2014

                                               / Lcwis lasc   /
                                               Lewis Vy'. Page, Jr.
                                               Page Law Firm, LLC
                                               Freedom Center, Suite 100
                                               1933 Richarcl Arrington Jr. Blvd. South
                                               Bilnringham, AL 35209
                                               lewis.paqe@þaeelaw.net
                                               20s-939-3900




                                                                                              Page 3   of   3
